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                          Exhibit 83
                     Claim Total Summary
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                             Claim Total Summary

Matter                      Amt. Due
Fair Fight Case             $         41,359.39
TTV Arizona                 $          1,793.20
Validate GA                 $          9,044.01
TTV Harris County           $         10,894.00
TTV IV3                     $            869.40
TTV Lawfare Research        $          3,964.20
TTV NC Amicus               $         19,847.00
TTV NM Litigation           $         23,403.00
TTV NV State Litigation     $         39,916.68
TTV NV Federal Litigation   $        139,466.50
TTV Audits                  $         10,393.00
TTV Ranked Choice Voting    $          9,237.50
TTV TX Litigation           $          2,634.00
TTV VA Intervention         $         65,370.00
TTV FEC Complaint           $            826.50
TTV VA Federal Case         $         87,555.50
TTV IRS Case                $        505,003.38

Total                       $        971,577.26
